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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

SPIRE GLOBAL, INC.,
Plaintiff, C.A. No. 25-cvy-168-GBW
v.

KPLER HOLDING SA,

Defendant.

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ORDER GRANTING PLAINTIFE’S
MOTION FOR EXPEDITED PROCEEDINGS

WHEREAS, Plaintiff Spire Global, Inc. filed a Motion for Expedited Proceedings on
February 18, 2024 (the “Motion’”’). The Court, having reviewed the Motion and being otherwise
fully informed of the premises thereof, and finding that good cause exists to grant the Motion,
hereby ORDERS:

L Plaintiff's Motion is GRANTED.

2. The parties shall prepare for a one-day trial which will be held on March 4, 2025
at 11:00 a.m. in Courtroom 6B.

3. The parties shall confer and submit a joint proposed pre-trial scheduling

order on or before February 25, 2025.

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TATES DISTRICT JUDGE

DATED: February 20, 2025

